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                               UNITED STATES DISTRICT COURT FOR THE
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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10
       UNITED STATES OF AMERICA,                           NO.       CR20-183 JCC
                                 Plaintiff
11                                                         INFORMATION
12                         v.

13     DAVID KUBALA,
                                 Defendant.
14
15           The United States Attorney charges that:
16                                                  COUNT 1
17                                   (Felon in Possession of a Firearm)
18           On or about January 9, 2020, in the city of Seattle, within the Western District of
19 Washington, the Defendant, DAVID KUBALA, knowing he had been convicted of the
20 following crime punishable by a term of imprisonment exceeding one year, to wit:
21
        • Burglary in the Second Degree, Superior Court of Washington for Lewis County,
22
             cause number 991006521, on or around September 28, 1999;
23
     did knowingly possess in and affecting interstate and foreign commerce, the following
24
     firearm: a Savage Model 24 Series S combination .410 gauge shotgun and .22LR caliber
25
     rifle, all of which had been shipped and transported in interstate and foreign commerce.
26
             All in violation of Title 18, United States Code, Section 922(g)(1).
27
28
      Information/Kubala - 1                                               UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, STE. 5220
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
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1                                             COUNT 2
2                                            (Smuggling)

3           On or about December 29, 2019, in the city of Seattle, within the Western District
4 of Washington, the Defendant, DAVID KUBALA, knowingly did import merchandise
5 contrary to law that is, a firearms silencer, then knowing that said merchandise had been
6 imported and brought into the United States contrary to law.
7           All in violation of Title 18, United States Code, Section 545.
8
9 DATED this            28th day of October, 2020.
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13
                                                      BRIAN T. MORAN
14                                                    United States Attorney
15
16                                                                             for
                                                      TODD GREENBERG
17
                                                      Assistant United States Attorney
18
19
20                                                    THOMAS M. WOODS
                                                      Assistant United States Attorney
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23
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     Information/Kubala - 2                                                  UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, STE. 5220
                                                                              SEATTLE, WASHINGTON 98101
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